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 6
                             IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 8
                                                       No.
 9    UNITED FINANCIAL CASUALTY
      COMPANY, a foreign insurer,                      COMPLAINT FOR DECLARATORY
10                                                     RELIEF
                           Plaintiff,
11                    v.
12    CHRISTENSEN, INC. GENERAL
      CONTRACTOR, a Washington Corporation;
13    KEVIN CHRISTENSEN and BARBARA
      CHRISTENSEN, husband and wife, and the
14    marital community thereof; JOHN R.
      CLARK and “JANE DOE” CLARK, husband
15    and wife, and the marital community thereof;
      LEETTA IRELAND, an individual person;
16    HARTFORD CASUALTY INSURANCE
      COMPANY, a foreign insurer;
17
                           Defendants.
18

19                                      I.   NATURE OF THE ACTION

20          1.       This is an insurance coverage action seeking declaratory relief pursuant to 28

21   U.S.C. §§ 2201 and 2202. United Financial Casualty Company (hereinafter “UFCC”) seeks a

22   determination that it has no duty to defend or indemnify Christensen, Inc., General Contractor

23   (hereinafter “Christensen”) or John R. Clark (hereinafter “Clark”) under a policy of insurance

24

25                                                                  LETHER & ASSOCIATES PLLC.
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 1   issued to Christensen by UFCC with respect to claims brought against both in two actions

 2   described in detail below.

 3                                             II.    PARTIES

 4          2.       Plaintiff UFCC is a foreign insurance company organized under the laws of the

 5   State of Ohio with its principal place of business located in the State of Ohio.

 6          3.       Christensen is a corporation organized under the laws of the State of

 7   Washington with a principal place of business located in Thurston County, Washington.

 8          4.       Kevin and Barbara Christensen are residents and are citizens of the State of

 9   Washington.

10          5.       Kevin Christensen is the sole shareholder of Christensen.

11          6.       Clark, at all relevant times, was an employee of Christensen.

12          7.       Clark is a resident of Thurston County, Washington and is a citizen of the State

13   of Washington.

14          8.       Leetta Ireland (hereinafter “Ireland”) is a resident of Thurston County,

15   Washington and a citizen of the State of Washington.

16          9.       Hartford Casualty Insurance Company (hereinafter “Hartford”) is an insurance

17   company organized under the laws in the State of Indiana with its principal place of business

18   located in Hartford, Connecticut.

19                                 III.    JURISDICTION AND VENUE

20          10.      This Court has jurisdiction over this claim pursuant to 28 U.S.C. §1332 as the

21   amount in controversy exceeds $75,000.00, exclusive of interest and costs, and diversity

22   amongst the parties is complete.

23

24

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 1          11.     Venue is proper with this Court pursuant to 28 U.S.C. §1391 as this case

 2   involves claims for insurance coverage stemming from alleged losses which occurred in Mason

 3   County, Washington.

 4          12.     Venue is also proper with this Court pursuant to 28 U.S.C. §1391 as the

 5   individual defendants and parties involved in the alleged losses resided in this judicial district.

 6                                               IV.     FACTS

 7          A. Facts of the Motor Vehicle Accident

 8          13.     On April 20, 2016, Clark was commuting home after his workday ended in a

 9   1986 Chevrolet C2500 (hereinafter, the “’86 Chevy”) on highway 3 near Shelton, Washington.

10   At that time and place, Clark rear ended Ireland, who was stopped for traffic while she waited

11   to make a left-hand turn.

12          14.     Ireland alleges she sustained injuries and property damage as a result of the

13   motor vehicle accident.

14          15.     At the time of the accident, Clark possessed an auto insurance policy issued to

15   him by non-party Farmers Insurance Company of Washington (hereinafter, “Farmers”), which

16   included liability coverage.

17          16.     Clark’s policy with Farmers covered the ’86 Chevy.

18          17.     At the time of the accident, Christensen was Clark’s employer.

19          18.     Upon information and belief, Clark was prohibited from driving with regard to

20   his employment with Christensen.

21          19.     At the time of the accident, a trailer owned by Christensen was attached to

22   Clark’s ’86 Chevy.

23          20.     At the time of the accident, Ireland was insured by Hartford.

24

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 1          21.     Hartford alleges it paid Ireland money damages for her personal injuries and

 2   property damage.

 3          22.     Hartford alleges it bought out Ireland’s claim under the Hamilton Doctrine and

 4   initiated the Mason County Lawsuit.

 5      1) The Mason County Lawsuit

 6          23.     The lawsuit, entitled Hartford Casualty Insurance Company as subrogee of

 7   Leetta Ireland v. Christensen, Inc, General Contractor; John Clark., was brought by Hartford

 8   in Mason County District Court, Case No. 18CV1362 (hereinafter the “Mason County

 9   Lawsuit”).

10          24.     Hartford alleges that Clark was negligent in causing the accident that resulted in

11   Ireland’s personal injuries and property damage.

12          25.     Hartford alleges that Clark was acting within the scope of his employment with

13   Christensen at the time of the accident.

14          26.     Hartford seeks recovery of the money it paid out to Ireland for personal injury

15   and property damage based on the doctrine of subrogation.

16          27.     A claim has been tendered on behalf of Christensen and Clark to UFCC seeking

17   defense and indemnity coverage arising out of the allegations asserted by Hartford in the

18   Mason County Lawsuit.

19          28.     UFCC is defending Christensen and Clark in the Mason County Lawsuit subject

20   to an express reservation of rights.

21      2) The Pierce County Lawsuit

22          29.     The lawsuit, entitled Ireland v. Clark et al., was brought by Ireland in Pierce

23   County Superior Court, Case No. 19-2-07069-8 (hereinafter the “Pierce County Lawsuit”), and

24

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 1   named Clark, “Jane Doe” Clark, husband and wife, Christensen, Kevin Christensen and

 2   Barbara Christensen, husband and wife, and any other shareholders of Christensen as the

 3   Defendants.

 4          30.     Ireland alleges that the motor vehicle accident caused by Clark’s negligence was

 5   within the scope and furtherance of his employment with Christensen, and that Christensen is

 6   liable for the negligent acts of Clark under the doctrine of respondeat superior and/or agency.

 7          31.     Ireland seeks damages for her personal injuries caused by the April 20, 2016

 8   motor vehicle accident.

 9          32.     UFCC is defending Christensen and Clark in the Pierce County Lawsuit subject

10   to an express reservation of rights.

11          B. The UFCC Policy

12          33.     UFCC issued Commercial Auto Insurance Policy no. 02840926-0 to Christensen

13   with a policy period of January 18, 2016 to January 18, 2017, (hereinafter “the UFCC Policy”).

14          34.     The UFCC Policy lists Christensen as the named “insured.”

15          35.     The only auto listed on the declaration page of the UFCC Policy is a 2003 GMC

16   C7C (VIN: 1GDK7E1C13F521896) (hereinafter “2003 GMC”).

17          36.     The ’86 Chevy is not listed on the UFCC Policy declaration page.

18          37.     The trailer that was attached to the ’86 Chevy during the April 20, 2016 motor

19   vehicle accident is not listed on the UFCC Policy declaration page.

20          38.     The insuring agreement for liability coverage in the UFCC Policy contains the

21   following language in pertinent parts:

22

23                                PART I - LIABILITY TO OTHERS

24                  Insuring Agreement- Liability To Others

25                                                                     LETHER & ASSOCIATES PLLC.
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 1

 2              Subject to the Limits of Liability, if you pay the premium for
                liability coverage for the insured auto involved, we will pay
 3              damages, other than punitive or exemplary damages, for bodily
                injury, property damage, and covered pollution cost or
 4              expense, for which an insured becomes legally responsible
                because of an accident arising out of the ownership, maintenance
 5              or use of that insured auto. However, we will only pay for the
                covered pollution cost or expense if the same accident also
 6              caused bodily injury or property damage to which this
                insurance applies.
 7
                We will settle or defend, at our option, any claim or lawsuit for
 8              damages covered by this Part I. We have no duty to settle or
                defend any lawsuit, or make any additional payments, after the
 9              Limit of Liability for this coverage has been exhausted by
                payment of judgments or settlements.
10              ...
11              ADDITIONAL DEFINITIONS USED IN THIS PART ONLY

12              A.     When used in Part I - Liability To Others, insured means:

13                     1.     You with respect to an insured auto.

14                     2.     Any person while using, with your permission,
                              and within the scope of that permission, an
15                            insured auto you own, hire or borrow except:
                                  a) A person while he or she is working in a
16                                   business of selling, leasing, repairing,
                                     parking, storing, servicing, delivering or
17                                   testing autos, unless that business is yours
                                     and it was so represented in your
18                                   application.
                                  b) A person, other than one of your
19                                   employees, partners (if you are a
                                     partnership), members (if you are a limited
20                                   liability company), officers or directors (if
                                     you are a corporation), or a lessee or
21                                   borrower or any of their employees, while
                                     he or she is moving property to or from an
22                                   insured auto.
                                  c) The owner or anyone else from whom the
23                                   insured auto is leased, hired, or borrowed
                                     unless the insured auto is a trailer
24

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 1                                       connected to a power unit that is an
                                         insured auto. However, this exception
 2                                       does not apply if the insured auto is
                                         specifically described on the declarations
 3                                       page.

 4                                For purposes of this subsection A.2, an insured
                                  auto you own includes any auto specifically
 5                                described on the declarations page.
                          3.      Any other person or organization, but only with
 6
                                  respect to the legal liability of that person or
                                  organization for acts or omissions of any person
 7
                                  otherwise covered under this Part I - Liability To
                                  Others.
 8
                   If we make a filing or submit a certificate of insurance on your
 9
                   behalf with a regulatory or governmental agency, the term
                   “insured” as used in such filing or certificate, and in any related
10
                   endorsement, refers only to the person or organization named on
                   such filing, certificate or endorsement.
11

12                 B.     When used in Part I - Liability To Others, insured auto
                          also includes:
13

14                        1.      Trailers designed primarily for travel on public
                                  roads, while connected to your insured auto that
15                                is a power unit;

16                        2.      Mobile equipment while being carried or towed
                                  by an insured auto; and
17                        3.      Any temporary substitute auto.
18   Policy No. 02840926-0, Form 6912 (06/10) at 6.

19          39.    The following general definitions also apply to the above referenced provisions:

20                                   GENERAL DEFINITIONS
                   ...
21
                   5.     “Insured auto” or “your insured auto” means:
22                        a.      Any auto specifically         described      on     the
                                  declarations page; or
23

24

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 1                        b.     An additional auto for Part I - Liability To Others
                                 and/or Part II - Damage To Your Auto on the date
 2                               you become the owner if:
                                 (i)     you acquire the auto during the policy
 3                                       period shown on the declarations page;
                                 (ii)    we insure all autos owned by you that are
 4                                       used in your business;
                                 (iii)   no other insurance policy provides
 5                                       coverage for that auto; and
                                 (iv)     you tell us within 30 days after you
 6                                       acquire it that you want us to cover it for
                                         that coverage.
 7
                                 If you add any coverage, increase your limits or
 8                               make any other changes to this policy during the
                                 30 day period after you acquire an additional
 9                               auto, these changes to your policy will not
                                 become effective until after you ask us to add the
10                               coverage, increase your limits or make such
                                 changes for the additional auto. We may charge
11                               premium for the additional auto from the date you
                                 acquire the auto.
12                               With respect to Part I - Liability To Others, if we
                                 provide coverage for an additionally acquired auto
13                               in accordance with this paragraph b., we will pro-
                                 vide the same coverage for such additional auto as
14                               we provide for any auto shown on the
                                 declarations page.
15
                          c.     Any replacement auto on the date you become the
16                               owner if:

17                               (i)     you acquire the auto during the policy
                                         period shown on the declarations page;
18
                                 (ii)    the auto that you acquire replaces one
                                         specifically described on the declarations
19
                                         page due to termination of your ownership
                                         of the replaced auto or due to mechanical
20
                                         breakdown of, deterioration of, or loss to
                                         the replaced auto that renders it
21
                                         permanently inoperable; and
22                               (iii)   no other insurance        policy     provides
                                         coverage for that auto.
23
     Policy No. 02840926-0, Form 6912 (06/10) at 2-3.
24

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 1                  14.      “Temporary substitute auto” means any auto you do
                             not own while used with the permission of its owner as a
 2                           temporary substitute for an insured auto that has been
                             withdrawn from normal use due to breakdown, repair,
 3                           servicing, loss or destruction.

 4   Policy No. 02840926-0, Form 6912 (06/10) at 5.
                    17.      “You”, “your” and “yours” refer to the named insured
 5
                             shown on the declarations page.
 6   Policy No. 02840926-0, Form 6912 (06/10) at 5.

 7
            40.     The UFCC policy contains the following provisions regarding the potential
 8
     presence of other insurance covering a claim to liability coverage:
 9
                    GENERAL PROVISIONS
10
                    3. Other Insurance
11                        a. For any insured auto that is specifically described on the
                             declarations page, this policy provides primary coverage.
12                           For an insured auto which is not specifically described on
                             the declarations page, coverage under this policy will be
13                           excess over any and all other valid and collectible
                             insurance, whether primary, excess or contingent.
14                           However, if the insured auto which is specifically
                             described on the declarations page is a trailer, this policy
15                           will be primary only if the trailer is attached to an insured
                             auto that is a power unit you own and is specifically
16                           described on the declarations page, and excess in all other
                             circumstances.
17
                          b. If coverage under more than one policy applies on the
18                           same basis, either excess or primary, we will pay only our
                             proportionate share. Our proportionate share is the
19                           proportion that the Limit of Liability of this policy bears
                             to the total of the limits of all the Coverage Forms and
20                           policies covering on the same basis.
21
     Policy No. 02840926-0, Form 6912 (06/10) at 22.
22
           V.      THERE IS AN ACTUAL AND JUSTICABLE CONTROVERSEY AS TO
                                UFCC’s COVERAGE OBLIGATIONS
23

24

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 1          41.     The UFCC Policy provides liability coverage for damages, other than punitive

 2   or exemplary damages, for bodily injury for which an “insured” becomes legally responsible

 3   because of an accident arising out of the ownership, maintenance or use of an “insured auto.”

 4          42.     There is an actual and justiciable controversy as whether any of the of the claims

 5   asserted in the underlying lawsuits are for damages due to an accident involving an “insured

 6   auto” as defined by the UFCC policy.

 7          43.     The UFCC Policy defines “insured auto” as an auto specifically described on the

 8   declarations page, an “additional auto,” a “replacement auto,” and a “temporary substitute

 9   auto.” The UFCC Policy provides that “insured auto” also includes trailers when they are

10   connected to an “insured auto,” mobile equipment that is being carried or towed by an “insured

11   auto”, or a “temporary substitute auto.”

12          44.     The only auto listed on the UFCC Policy is the 2003 GMC.

13          45.     The UFCC defines “additional auto” as an auto acquired during the policy

14   period, the policy covers every auto owned by the “insured” or “insured’s business,” no other

15   insurance policy covers the auto, and the “insured” notifies UFCC within thirty days of

16   acquiring the auto that it wants the new auto to be included under the coverage.

17          46.     There is an actual and justiciable controversy as to whether the ’86 Chevy

18   qualifies as an “additional auto.”

19          47.     The UFCC Policy defines a “replacement auto” as an auto that the “insured”

20   acquires during the policy period, that replaces the auto listed on the declaration page due to

21   breakdown or loss that renders the listed auto inoperable, and is an auto that is not covered by

22   any other insurance policy.

23

24

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 1          48.     There is an actual and justiciable controversy as to whether the ’86 Chevy

 2   qualifies as a “replacement auto.”

 3          49.     The UFCC Policy defines “temporary substitute auto” as any auto not owned by

 4   the “insured” who is using it with permission in place of an “insured auto” that is taken out of

 5   normal use due to breakdown, repair, servicing, loss or destruction.

 6          50.     There is an actual and justiciable controversy as to whether the ’86 Chevy

 7   qualifies as a “temporary substitute auto.”

 8          51.     There is an actual and justiciable controversy as to whether the trailer qualifies

 9   as an “insured auto.”

10          52.     There is an actual and justiciable controversy as to whether the trailer was

11   attached to an “insured auto” at the April 20, 2016 motor vehicle accident.

12          53.     The UFCC Policy defines an “insured” as “You,” referring to Christensen as the

13   named “insured”, with respect to an “insured auto.”

14          54.     There is an actual and justiciable controversy regarding whether Christensen is

15   an “insured” for the April 20, 2016 motor vehicle accident.

16          55.     The UFCC Policy defines an “insured” as any person using an “insured auto”

17   with permission and acting within the scope of that permission, or a person who is vicariously

18   liable for the conduct of an “insured.”

19          56.     There is an actual and justiciable controversy as to whether Clark is an “insured”

20   while driving the ’86 Chevy according to the terms as defined by The UFCC Policy.

21          57.     There is an actual and justiciable controversy as to whether Clark had

22   Christensen’s permission and was acting within the scope of that permission.

23

24

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 1          58.     There is an actual and justiciable controversy as to whether Christensen is

 2   subject to vicarious liability for conduct of Clark at the time of the April 20, 2016 motor

 3   vehicle accident.

 4          59.     The UFCC Policy provides that its insurance is excess when an auto is insured

 5   under another insurance policy.

 6          60.     Clark is insured under the Farmers policy.

 7          61.     There is an actual and justiciable controversy as to whether UFCC is excess of

 8   Farmers, if UFCC provides any coverage at all.

 9          62.      In addition to the provisions cited above, UFCC pleads all other conditions,

10   terms, provisions, limitations, definitions, and exclusions of the UFCC Policy, which also may

11   be found to be applicable to UFCC’s investigation and defense of these claims, and UFCC

12   reserves the right to amend its Complaint for Declaratory Judgment as additional and/or more

13   specific information becomes available.

14          63.     There is an actual and justiciable controversy as to whether there is coverage

15   available to Clark and Christensen under the UFCC policy.

16          64.     Pursuant to 28 U.S.C. §§ 2201 and 2202, UFCC seeks a judicial declaration of

17   its rights and duties under the UFCC Policy.

18                        VI.     CLAIM FOR DECLARATORY JUDGMENT

19          65.     Plaintiff UFCC is entitled to Declaratory Judgment in its favor, specifically

20   including a judicial determination that it does not owe any defense or indemnity coverage

21   obligations to Christensen and Clark under the policies of insurance issued to Christensen for

22   the claims asserted in the underlying lawsuits (the Mason County Lawsuit and the Pierce

23   County Lawsuit) that are the subject of this lawsuit.

24

25                                                                  LETHER & ASSOCIATES PLLC.
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 1                                   VII.    REQUEST FOR RELIEF

 2          WHEREFORE, UFCC, having specifically alleged the foregoing, now requests for the

 3   following relief:

 4          66.     For a determination of the rights and obligations of the parties hereto under the

 5   UFCC Policy.

 6          67.     For a declaration that UFCC does not owe any coverage to Clark under the

 7   UFCC Policy for the subject accident.

 8          68.     For all interest as allowed by applicable law.

 9          69.     For attorney’s fees and costs allowed by applicable statute and law.

10          70.     For other and further relief as the Court deems just and equitable.

11          DATED this 18th day of July, 2019.

12                                                   LETHER & ASSOCIATES, PLLC

13
                                                     /s/ Thomas Lether___________
14                                                   Thomas Lether, WSBA #18089
                                                     /s/ Eric J. Neal______________________
                                                     Eric J. Neal, WSBA #31863
15                                                   1848 Westlake Avenue N, Suite 100
                                                     Seattle, WA 98109
16                                                   P: (206) 467-5444/F: (206) 467-5544
                                                     eneal@letherlaw.com
17                                                   tlether@letherlaw.com
                                                     Attorneys for Plaintiff United Financial
18                                                   Casualty Insurance Company
19

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